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                     IN THE UNITED STATES DISTRICT COURT FOR
                                  EASTERN DISTRICT OF VIRGINIA                          IL i—         —

                                             Alexandria Division                                JUL       6 20i0

                                                                                          CLERK, U.S. DISTRICT COURT
                                                                                             ALEXANDRIA, VIRGINIA



UNITED STATES OF AMERICA,                           )


v.                                                  )                            l:10crl91-2(JCC)


JUAN BEIZA                                           )


        Defendant                                    )




                                       MEMORANDUM OPINION


        This matter comes before the court pursuant to Government's Motion for Revocation of


Release Order and Review of Detention.            For the reasons set forth below, the Motion is granted.


                                                         I.


        Based on the de novo' hearing conducted in this matter on July 2,2010, the Court finds

the relevant facts to be as follows:


        The Defendant is charged in the Easter District of Virginia with conspiracy to distribute 5


kilograms of cocaine. The Defendant was arrested in the Western District of Texas and on June


10, 2010, a Magistrate Judge entered a release order.



                                                         II.


        In deciding whether or not a defendant poses a danger to the community, thus mandating


his detention pending trial, the Court must consider the factors set forth in 18 U.S.C. § 3142 (g).


These factors include:



         !De novo review is conducted pursuant to United Stales v. Williams, 753 F.2d 329, 333 (4lh Cir. 1985).
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       (1) The nature and circumstance of the offense charged, including whether the


offense is a crime of violence or involves a narcotic drug. - The Defendant has been with


charged with conspiracy to distribute 5 kilograms of cocaine.


       (2) The weight of the evidence against the accused. - The Defendant has admitted that


he transported drugs from Texas to Virginia.


       (3) The history and characteristics of the accused. - The Defendant is a 25 year old


male, born in Mexico. He is a permanent resident alien residing in Austin, Texas since age four.


His father is deceased and his mother and step-father all live in Austin, Texas. His mother is a


naturalized citizen and his brothers are permanent resident aliens.   He is employed as a delivery


route driver for Bimbo Bakeries for the past two years and has been residing at the same address


in Texas for three years. The Defendant has never been married and has no children. The


Defendant also suffers from mild anxiety attacks. He has an anxiety attack approximately once a


week and is not currently taking any medication. He has never seen a doctor or a psychiatrist for


anxiety, nor has he had any mental health treatment.    At a youthful age he began using


Cannabinoids, Cocaine, Benzodiazepines and alcohol. He has a criminal mischief conviction in


2002 and a possession of marijuana conviction in 2006.


        (4) The nature and seriousness of the danger posed to any person or the community that


would be posed by the accused's release. —     This is a presumption case and the Court feels that


based on the nature of offense of the charged, the strength of the Governments case, the


Defendant's mental health status, substance abuse history and that the fact that he is a resident


alien subject to deportation indicate that there is future likelihood that he would flee, should he


be granted bail.
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                                               III..


       Accordingly pursuant to 18 U.S.C. § 3142 (g) the Court finds that no conditions or


combinations of conditions will insure the appearance of the Defendant at trial and the safety of


the community and will grant the Government's Motion.

     /kj                      (I               James C. Cacheris""        "
July 2^,2010
     2^,2010                  vi^              United States District Judg«
Alexandria, Virginia            ^            James C. Cacheris
                                             UNITED STATES DISTRICT COURT JUDGE
